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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                              CASE NO. 1:21-cv-23709-COOKE/O’SULLIVAN

  WILSON VILLA,
  and other similarly situated individuals,

          Plaintiff,

  v.

  TURCIOS GROUP CORP,
  and HENRY TURCIOS, individually,

              Defendants.
                                                 /

                    DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
                           TO FIRST AMENDED COMPLAINT

              Defendants,   TURCIOS     GROUP        CORP    (“TGC”)     and   HENRY       TURCIOS

  (“TURCIOS”), through undersigned counsel, and pursuant to Fed. R. Civ. P. 12, herein file their

  answer and affirmative defenses to Plaintiff WILSON VILLA’s First Amended Complaint, and

  state as follows:

              1.    Admitted that this is an action to recover unpaid overtime wages and denied in all

  other respects.

              2.    Denied.

              3.    Admitted that TGC is a Florida corporation with its principal place of business in

  Miami-Dade, Florida and denied in all other respects.

              4.    Defendant is without sufficient information or knowledge to admit or deny the

  allegations contained in paragraph 4, and therefore strict proof thereof is hereby demanded.

              5.    Admitted that TURCIOS is the Vice President and is a Director of TGC, and

  denied in all other respects.

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              6.    Defendant is without sufficient information or knowledge to admit or deny the

  allegations contained in paragraph 6, and therefore strict proof thereof is hereby demanded.

              7.    Denied.

              8.    Admitted.

              9.    Denied.

              10.   Denied.

              11.   Denied.

              12.   Denied.

              13.   Denied.

              14.   Denied.

              15.   Denied.

              16.   Denied.

              17.   Denied.

              18.   Denied.

              19.   Denied.

              20.   Denied.

              21.   Denied.

              22.   Denied.

              23.   Denied.

              24.   Admitted that Plaintiff did not clock in and out, and denied in all other respects.

              25.   Denied.

              26.   Denied.

              27.   Denied.


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              28.   Denied.

              29.   Denied.

              30.   Denied.

                                                COUNT I

              31.   Defendants re-state and re-aver their responses to the allegations in paragraphs 1

  through 30, as if fully set forth herein.

              32.   Denied.

              33.   Denied.

              34.   Denied.

              35.   Denied.

              36.   Denied.

              37.   Denied.

              38.   Denied.

              39.   Denied.

              40.   Denied.

              41.   Denied.

              42.   Denied.

              43.   Denied.

              44.   Denied.

              45.   Denied.

              46.   Denied.

              47.   Denied.

              48.   Denied.


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              49.   Denied.

              50.   Denied.

              51.   Denied.

              52.   Denied.

              53.   Denied.

              54.   The Defendants are without sufficient information or knowledge to admit or deny

  the allegations in paragraph 54, and, therefor, strict proof thereof is demanded.

                                     AFFIRRMATIVE DEFENSES

              1.    As a first affirmative defense, the Defendants state that the Fair Labor Standards

  Act does not apply to Defendants, in that TGC is not engaged in interstate commerce and does

  not have gross sales exceeding $500,000.

              2.    As a second affirmative defense, the Defendants state that the Fair Labor

  Standards Act does not apply to Defendants, in that Plaintiff was an independent contractor and

  not an employee of TGC.

              3.    As a third affirmative defense, the Defendants state that Plaintiff’s claim for

  liquidated damages is barred in whole, or in part, as thee Defendants were at all times acting in

  good faith.

              4.    As a fourth affirmative defense, the Defendants state that Plaintiff was fully and

  properly compensated for work performed.


                                                         Respectfully submitted,

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                                                         /s/ Keith R Gaudioso
                                                         Danielle Cohen, Esq.
                                                         Fla. Bar No.: 27623
                                                         Keith R. Gaudioso, Esq.
                                                         Fla. Bar No.: 34436

                                     CERTIFICATE OF SERVICE

              I hereby certify that on March 24, 2022, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record identified below in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing: Zandro E. Palma, Esq., Zandro E. Palma, P.A., 9100 S. Dadeland Blvd., Suite

  1500, Miami, FL 33156, zep@thepalmalawgroup.com.

                                                         /s/ Keith R Gaudioso
                                                         Keith R. Gaudioso, Esq.




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